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AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case




                                         UNITED STATES DISTRICT COURT
                                                             District of Minnesota

UNITED STATES OF AMERICA                                                    §     JUDGMENT IN A CRIMINAL CASE
                                                                            §
v.                                                                          §
                                                                            §     Case Number: 16-CR-223 (JNE/FLN)
JOSE RAMON DELGADO-GAYTAN, also known                                       §     USM Number: 20754-041
as Saul Estrada-Alvarez
                                                                            §     Manvir K. Atwal
                                                                                  Defendant’s Attorney
                                                                            §
THE DEFENDANT:
☒ pleaded guilty to count 1 of the Indictment.
☐ pleaded nolo contendere to count(s) which was accepted by the court
☐ was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense                                                                      Offense Ended       Count
21:841(a)(1) and 841(b)(1)(A) POSSESSION WITH INTENT TO DISTRIBUTE                                       June 22, 2016       1
METHAMPHETAMINE




The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count(s)
☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States.
☒ $100.00 Special Assessment is due and payable immediately.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                     May 16, 2017
                                                                     Date of Imposition of Judgment




                                                                     s/Joan N. Ericksen
                                                                     Signature of Judge

                                                                     JOAN N. ERICKSEN
                                                                     UNITED STATES DISTRICT JUDGE
                                                                     Name and Title of Judge

                                                                     May 16, 2017
                                                                     Date


                                                                       1
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AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    JOSE RAMON DELGADO-GAYTAN
CASE NUMBER:                  16-CR-223 (JNE/FLN)

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
210 months.

☐ The court makes the following recommendations to the Bureau of Prisons:



☒ The defendant is remanded to the custody of the United States Marshal.
☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                           on

          ☐ as notified by the United States Marshal.

☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before                         on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:


          Defendant delivered on                                         to


at                                            , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL

                                                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                         2
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AO 245B (Rev. 11/16) Sheet 3 – Supervised Release
DEFENDANT:                    JOSE RAMON DELGADO-GAYTAN
CASE NUMBER:                  16-CR-223 (JNE/FLN)

                                                    SUPERVISED RELEASE
No term of supervised release is imposed upon the defendant’s release from imprisonment.




                                                            3
